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  1                         UNITED STATES DISTRICT COURT
  2                        CENTRAL DISTRICT OF CALIFORNIA
                                 SOUTHERN DIVISION
  3
      SERENA FLEITES,                          CASE NO. 2:21-CV-04920-CJC-ADS
  4
                  Plaintiff,
  5
            v.
  6
      MINDGEEK S.A.R.L.; MG                    DISCOVERY DOCUMENT:
  7                                            REFERRED TO MAGISTRATE
      FREESITES, LTD; MINDGEEK USA             JUDGE AUTUMN D. SPAETH
  8   INCORPORATED; MG PREMIUM
      LTD.; MG GLOBAL                          STIPULATION FOR ISSUANCE OF
  9                                            AMENDED REQUEST FOR
      ENTERTAINMENT INC.; 9219-1568            INTERNATIONAL JUDICIAL
 10   QUEBEC, INC.; BERND BERGMAIR;            ASSISTANCE
      FERAS ANTOON; DAVID
 11   TASSILLO; COREY URMAN; VISA              Date: February 15, 2023
 12   INC.; COLBECK CAPITAL DOES 1-            Time: 10:00 a.m.
      5; BERGMAIR DOES 1-5                     Courtroom: 6B
 13
 14               Defendants.

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                                                            CASE NO. 21-CV-04920-CJC-ADS
      STIPULATION FOR ISSUANCE OF AMENDED REQUEST FOR INTERNATIONAL JUDICIAL
      ASSISTANCE
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  1         Plaintiff Serena Fleites and Defendants MindGeek S.á.r.l., MindGeek Freesites
  2 Ltd, MindGeek USA Incorporated, MG Premium Ltd, MG Global Entertainment Inc.,
  3 and 9219-1568 Quebec Inc. stipulate as follows:
  4         WHEREAS, this Court granted Plaintiff’s Motion for Issuance of Letters
  5 Rogatory (Dkt. No. 178) on November 17, 2022 (Dkt. No. 211), including a letter to
  6 Grant Thornton’s National Office in Toronto, Grant Thornton LLP (Canada);
  7         WHEREAS, Plaintiff served a copy of the Letters Rogatory on Grant Thornton
  8 LLP (Canada) on December 23, 2022;
  9         WHEREAS, Grant Thornton LLP (Canada) has asserted that, although it is a
 10 member firm of Grant Thornton International, its office did not provide audit services
 11 to any named Defendant or MindGeek Entity, and it does not have control over audit
 12 and related files in the possession of Grant Thornton International member firm
 13 Raymond Chabot Grant Thornton LLP, a member firm known to have provided
 14 services to the MindGeek Entities;
 15         WHEREAS, Plaintiff asks this Court to issue the attached Letter Rogatory,
 16 which is the same as the previously issued Letter, but directed to Raymond Chabot
 17 Grant Thornton LLP;
 18
 19         NOW THEREFORE, the parties STIPULATE that the Court may issue the
 20 attached Letter Rogatory.
 21
 22   Dated: January 23, 2023               Respectfully submitted,
 23
                                            By:
 24                                         MICHAEL J. BOWE (pro hac vice)
 25                                         mbowe@brownrudnick.com
                                            LAUREN TABAKSBLAT
 26                                         (pro hac vice)
 27                                         ltabaksblat@brownrudnick.com
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 28                                         New York, NY 10036
                                              1              CASE NO. 21-CV-04920-CJC-ADS
      STIPULATION FOR ISSUANCE OF AMENDED REQUEST FOR INTERNATIONAL JUDICIAL
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                                    #:4461


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  7
  8                                         Attorneys for Plaintiffs

  9
 10 Dated: January 23, 2023                   /s/ Kathleen N. Massey
                                           KATHLEEN N. MASSEY
 11                                        (admitted pro hac vice)
 12                                        kathleen.massey@dechert.com
                                           DECHERT LLP
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 15                                        Phone: (212) 698-3500; Fax: (212) 698 3599
 16                                        Attorneys for MindGeek Entity Defendants
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                                            2               CASE NO. 21-CV-04920-CJC-ADS
      STIPULATION FOR ISSUANCE OF AMENDED REQUEST FOR INTERNATIONAL JUDICIAL
      ASSISTANCE
